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                           United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                      TEXARKANA DIVISION




 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §           CASE NO. 5:15CR23(2)
                                                  §
 CARLOS SUYI-RODRIGUEZ                            §


                                 ORDER ADOPTING
                         THE REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE



         The above-styled matter was referred to the Honorable Caroline M. Craven, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Craven conducted a hearing on June 27, 2016 in the form and manner prescribed

 by Federal Rule of Criminal Procedure 11 and issued a Report and Recommendation (document #

 53). Judge Craven recommended that the Court accept Defendant’s guilty plea and conditionally

 approve the plea agreement. She further recommended that the Court finally adjudge Defendant as

 guilty of Count 1 of the Indictment filed against Defendant in this cause.

         The parties have waived objections to the magistrate judge’s findings. The Court is of the

 opinion that the Report and Recommendation should be accepted. It is accordingly ORDERED

 that the Report and Recommendation of the United States Magistrate Judge (document #53) is

 ADOPTED. It is further

         ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

 It is finally

         ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant
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 GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT OF

 GUILTY against the Defendant as to Count 1 of the Indictment.


 So ORDERED and SIGNED this 28th day of June, 2016.




                                                   ____________________________________
                                                   ROBERT W. SCHROEDER III
                                                   UNITED STATES DISTRICT JUDGE




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